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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                       WEST PALM BEACH DIVISION

  DONALD J. TRUMP,

        Plaintiff,

  v.                                             Case No.: 9:22-cv-81780

  LETITIA JAMES, individually,

        Defendant.
                                     /

       NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        Plaintiff, PRESIDENT DONALD J. TRUMP, by and through his

  undersigned counsel and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), hereby

  voluntarily dismisses his claims in this action against Defendant, LETITIA

  JAMES, without prejudice.

  Dated: January 20, 2023
                                     Respectfully submitted,

                                     /s/ R. Quincy Bird
                                     Timothy W. Weber (FBN 86789)
                                     Jeremy D. Bailie (FBN 118558)
                                     R. Quincy Bird (FBN 105746)
                                     WEBER, CRABB & WEIN, P.A.
                                     5453 Central Avenue
                                     St. Petersburg, FL 33710
                                     (t): 727-828-9919/(f): 727-828-9924
                                     timothy.weber@webercrabb.com
                                     lisa.willis@webercrabb.com
                                     jeremy.bailie@webercrabb.com
                                     carol.sweeney@webercrabb.com
                                     quincy.bird@webercrabb.com
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                                     honey.rechtin@webercrabb.com
                                     Attorneys for President Donald J. Trump




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